                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )            No. 3:14-00090
                                                 )            JUDGE CAMPBELL
JAMAL COOPER, et al.                             )


                                              ORDER

       Pending before the Court are the Joint Motion To Declare Case “Complex” And To

Authorize Case Budgeting And Interim Billing (Docket No. 337) filed by Defendants D’Ron

Robinson, Donquez Groves, Eric Williams, Robert Foxx, Darnell Finnells, Shawna Foster,

Wallace Earl Coffee, and Thomas Barnett; along with Motions To Join the Joint Motion filed by

Defendants Robert Noel, Clifford Woods, William Earl Foster, Jr., Wilton Bailey, and Jasmond

Foster (Docket Nos. 339, 340, 341, 342, 343). Through the Motions, the Defendants seek to

have this case declared complex and to authorize case budgeting and interim billing.

       The Motion is GRANTED, as follows: The Court concludes that this case should be

considered “complex” as to the Defendants listed herein, and authorizes interim billing. Counsel

for the Defendants listed herein shall promptly consult with Sixth Circuit Budgeting Attorney

Robert Ranz regarding a proposed budget. After consultation with Mr. Ranz, counsel shall

submit the proposed budget to the District Court for consideration. The Court is likely to

schedule an ex parte hearing to discuss the proposed budget. Upon approval, the proposed

budget will be sent to the Sixth Circuit for consideration.

       It is so ORDERED.


                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE



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